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 5
                                 UNITED STATES DISTRICT COURT
 6
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
 9     UNITED STATES OF AMERICA,                                  Case No. CR20-057-RSL

10                           Plaintiff,                           ORDER DENYING MOTION
11                      v.                                        FOR EARLY
                                                                  TERMINATION OF
12     MARQUIS BARBER,                                            SUPERVISED RELEASE
13                           Defendant.
14
15          This matter comes before the Court on defendant’s “Motion for Early Termination of
16 Supervised Release.” (Dkt. # 4).
17          On August 7, 2014, defendant pleaded guilty to conspiracy to commit sex trafficking of
18 children, in violation of 18 U.S.C. § 1594(c). Dkt. # 2 at 11. The U.S. District Court for the
19 Southern District of California sentenced defendant to 72 months of imprisonment and ten years
20 of supervised release. Dkt. # 2 at 34-35. This Court accepted jurisdiction over defendant on
21 April 16, 2020. Dkt. # 1. According to his supervising Probation Officer, defendant started his
22 term of supervised release on July 30, 2019. Dkt. # 4 at 2.
23          The Court may “after considering the factors set forth in [18 U.S.C. § 3553(a)] . . .
24 terminate a term of supervised release and discharge the defendant released at any time after the
25 expiration of one year of supervised release . . . if it is satisfied that such action is warranted by
26 the conduct of the defendant released and the interest of justice.” 18 U.S.C. § 3583(e). The
27 Court enjoys “discretion to consider a wide range of circumstances when determining whether
28
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 1 to grant early termination.” United States v. Emmett, 749 F.3d 817, 819 (9th Cir. 2014) (citing
 2 United States v. Pregent, 190 F.3d 279, 283 (4th Cir. 1999)).
 3         The Court is pleased to learn that defendant is doing well under supervised release and
 4 commends defendant’s progress, including his stable employment and dedication to his masonry
 5 apprenticeship. Considering, however, the nature of defendant’s sex trafficking offense and that
 6 defendant has served less than a quarter of his ten-year term of supervised release, the Court
 7 finds that it would be premature to terminate his term of supervised release. See 18 U.S.C.
 8 §§ 3583(e)(1), 3553(a). Accordingly, defendant’s request for early termination of supervised
 9 release (Dkt. # 4) is DENIED. The Court supports allowing defendant to travel outside of
10 Washington State for work-related reasons so long as defendant obtains prior approval of his
11 United States Probation Officer, and the Court is amenable to amending the terms of his
12 supervised release to reflect this.
13         IT IS SO ORDERED.
14
15         DATED this 29th day of November, 2021.
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17
18                                                   A
                                                     Robert S. Lasnik
19                                                   United States District Judge
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     ORDER DENYING MOTION FOR EARLY
     TERMINATION OF SUPERVISED RELEASE - 2
